                                             Case 16-73195-pmb                       Doc 54   Filed 01/28/19 Entered 01/28/19 15:49:23                                 Desc
                                                                                                   Page 1 of 3
                                                                                        Form 1
                                                                                                                                                                                                        Page: 1-1
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:      16-73195-PMB                                                                                                               Trustee Name:       (300031) Kyle Cooper
Case Name:       HAMBY, DAVID LEE                                                                                                         Date Filed (f) or Converted (c): 12/30/2016 (f)
                                                                                                                                          § 341(a) Meeting Date:      01/30/2017
For Period Ending:         12/31/2018                                                                                                     Claims Bar Date: 12/19/2018

                                                     1                                             2                             3                           4                      5                          6

                                             Asset Description                                  Petition/                Estimated Net Value          Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                    Unscheduled           (Value Determined By Trustee,        Abandoned            Received by the          Administered (FA)/
                                                                                                 Values                Less Liens, Exemptions,       OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                   and Other Costs)                                                            Remaining Assets

    1        VOID (u)                                                                                       VOID                             VOID           VOID                             VOID                      VOID

    2*       1804 Gray Gables Way, Buford, GA 30519 (See Footnote)                                     216,000.00                       111,750.00                                       39,807.59                          FA

    3        1985 Chev S1D 260,000 miles                                                                 1,000.00                         1,000.00                                              0.00                        FA

    4        Furnishings                                                                                 5,000.00                         5,000.00                                              0.00                        FA

    5        Clothes                                                                                     1,500.00                         1,500.00                                              0.00                        FA

    6        Cash                                                                                           50.00                            50.00                                              0.00                        FA

    7        Checking account: BB&T                                                                         75.00                            75.00                                              0.00                        FA

    8        Trade Tools                                                                                 4,000.00                         4,000.00                                              0.00                        FA

    8        Assets               Totals       (Excluding unknown values)                          $227,625.00                        $123,375.00                                       $39,807.59                     $0.00


     RE PROP# 2              Foreclosure proceeds




         Major Activities Affecting Case Closing:
                                        12/20/2018 - Reviewing POCs and title history.

                                        9/20/2018 - Trustee requested bar date. Bar date pending, awaiting claim filing.

                                        3/26/2018 - Case reopened and Trustee reappointed. Trustee seeking turnover of excess proceeds from foreclosure sale.


                                        +-
         Initial Projected Date Of Final Report (TFR):                       12/31/2019                              Current Projected Date Of Final Report (TFR):                       12/31/2019


              01/28/2019                                                                                               /s/Kyle Cooper

                    Date                                                                                               Kyle Cooper
                                              Case 16-73195-pmb         Doc 54         Filed 01/28/19 Entered 01/28/19 15:49:23                              Desc
                                                                                            Page 2 of 3
                                                                                 Form 2                                                                                                      Page: 2-1
                                                                 Cash Receipts And Disbursements Record
Case No.:                       16-73195-PMB                                                             Trustee Name:                 Kyle Cooper (300031)
Case Name:                      HAMBY, DAVID LEE                                                         Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***0749                                                               Account #:                    ******3800 Checking
For Period Ending:              12/31/2018                                                               Blanket Bond (per case limit): $30,390,000.00
                                                                                                         Separate Bond (if applicable): N/A

    1            2                               3                                                  4                                               5                        6                    7

  Trans.    Check or                   Paid To / Received From                      Description of Transaction                  Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                            Tran. Code          $                        $

 08/09/18     {2}        Aldridge Pite, LLP                          Foreclosure Excess Proceeds                                1110-000                 39,807.59                                    39,807.59

 08/31/18                Rabobank, N.A.                              Bank and Technology Services Fees                          2600-000                                          34.35               39,773.24

 09/28/18                Rabobank, N.A.                              Bank and Technology Services Fees                          2600-000                                          30.50               39,742.74

 10/31/18                Rabobank, N.A.                              Bank and Technology Services Fees                          2600-000                                          35.93               39,706.81

                                                                       COLUMN TOTALS                                                                     39,807.59                100.78              $39,706.81
                                                                               Less: Bank Transfers/CDs                                                       0.00                  0.00
                                                                       Subtotal                                                                          39,807.59                100.78
                 true                                                          Less: Payments to Debtors                                                                            0.00

                                                                       NET Receipts / Disbursements                                                     $39,807.59               $100.78




                                                                                                                                                                                                  false

{ } Asset Reference(s)                                                                                                                                               ! - transaction has not been cleared
                                         Case 16-73195-pmb   Doc 54        Filed 01/28/19 Entered 01/28/19 15:49:23                 Desc
                                                                                Page 3 of 3
                                                                        Form 2
                                                                                                                                                     Page: 2-2
                                                        Cash Receipts And Disbursements Record
Case No.:                  16-73195-PMB                                             Trustee Name:                 Kyle Cooper (300031)
Case Name:                 HAMBY, DAVID LEE                                         Bank Name:                    Rabobank, N.A.
Taxpayer ID #:             **-***0749                                               Account #:                    ******3800 Checking
For Period Ending:         12/31/2018                                               Blanket Bond (per case limit): $30,390,000.00
                                                                                    Separate Bond (if applicable): N/A


                                        Net Receipts:         $39,807.59
                           Plus Gross Adjustments:                 $0.00
                         Less Payments to Debtor:                  $0.00
                 Less Other Noncompensable Items:                  $0.00

                                          Net Estate:         $39,807.59




                                                               TOTAL - ALL ACCOUNTS                      NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                               ******3800 Checking                              $39,807.59              $100.78       $39,706.81

                                                                                                                 $39,807.59                $100.78     $39,706.81




                              01/28/2019                                                   /s/Kyle Cooper
                                 Date                                                      Kyle Cooper
